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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 24-cr-20311-KMW-2

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  PEDRO JUAN DOMINGUEZ,

          Defendant.


                    DEFENDANT PEDRO JUAN DOMINGUEZ’S
                   NOTICE OF CHANGE OF MAILING ADDRESS

          The undersigned attorney for Defendant, PEDRO JUAN DOMINGUEZ,
          pursuant to

  SDFL LR 5.1 and 11.1(g) and CM/ECF Administrative Procedures 3D, files this

  Notice of Change of Address and requests that copies of all future pleadings,

  papers, and communications be directed to his new office address, as follows:

          CASO PEDRAJA LAW P.A.
          9700 South Dixie Highway,
          Suite 600, Miami, Florida 33156

                                [Continued on next page]

          The undersigned’s email address and other contact information remain the
  same.
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        DATED January 29, 2025.

                                          Respectfully submitted,

                                          CASO PEDRAJA, P.A.

                                          By: /s/Jessica Caso Pedraja
                                          JessicaCasoPedraja.,Esq.
                                          Florida Bar No.:482234 Attorney
                                          for Defendant

                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 29, 2025, the foregoing Defendant

  Pedro Dominguez’s Notice of Change of Mailing Address was electronically

  filed with the Clerk of the Court using CM/ECF, which will send a notice of

  electronic filing (NEF) to all counsel of record registered therein.

                                          CASO PEDRAJA LAW, P.A.

                                      By: /s/Jessica Caso Pedraja Jessica
                                         Caso Pedraja, Esq.
                                         Florida Bar No.:482234
                                         Attorney for Defendant 9700
                                         South Dixie Highway, Suite
                                         600.
                                         Miami, Florida 33156
                                         Telephone: 305-810-9781 Email:
                                         jessica@casopedrajalaw.com




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